Case 2:04-cr-20325-SH|\/| Document 37 Filed 07/11/05 Page 1 of 2 Page|D 44

 

IN THE UNITED sTATEs DISTRICT COURT F"-ED¥Y ..... D£.
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 05 JUL ll PH 1,:1.5
UNITED sTATES oF AMERICA, (}_E%US ryng
@F:`-f\-". MP!'BS
vs. No. 04-20325-Ma

CHERYL BANKS ,

Defendant.

 

ORDER GR_ANTING MO’I‘ION TO RESET SENTENCING

 

Before the court is defendant's June 29, 2005, motion to
continue the sentencing hearing Which is presently set on July 5,
2005. For goo€ cause shown, the motion is granted. The
sentencing is reset to Friday, July 29, 2005, at 4:00 p.m.

g

day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

It is so ORDERED this

 

Th\s doc\_ment entered on the docket sheet ln c, mplianc
with R\l|e 55 and/or 32¢b) FHCrP on M"

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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US DISTRICT COURT

